 

Case 3:21-cv-02002-D-BN Document 3 Filed 08/25/21 Page1iof8 PagelD5

Rev. 12/16 omplaint for Emplo ment Discrimination

  

 

  
 

  

ERTS eT ,
NORTHERN OIST. OF TX

UNITED STATES DISTRICT COURT FILED

Northern District of Texas [>]

Leslie Faye Lea

for the 2021 AUG 25 PM 1:48.

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—6 8-21 CV2002-D

(to be filled in by the Clerk's Office)

Division

Case No

 

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

Nissan Motor Acceptance Corporation

Jury Trial: (check one) [_ lves whe

 

Defendant(s)
(Write the full name of each defendant who is being sued. if the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

LESLIE LEA

301 RAVENNA RD

LAKE DALLAS

TX 75065

2023213271
LESLIE.LEA27@GMAIL.COM

 

 

 

 

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name V5 abof C CL bos
Job or Title (if known) kLyidu CaYe/mg — Pa1$a [vga
Street Address Yo you G fee / _
City and County EracLlhys .
State and Zip Code TN SI0Z f
Telephone Number _ 3 g 04 Lre«pat) $y yy A Lis af
E-mail Address (if known)
Defendant No. 2
Name Yo / 4
Job or Title (if brown) SUpel Is f /
Street Address Ytoa FV yepolt fe Lia
City and County Twins Da [4g
State and Zip Code TL * SOLS
Telephone Number G12 4 Z7 TZl¢
E-mail Address (if known)
Defendant No. 3 -
Name A hng Qn | a
Job or Title (if known) Vo tol le Cthieh, i,
Street Address _¥4 a4 - L fetpal tr YA Lv Af
City and County L{(viag — Alle
State and Zip Code 1k (15063
Telephone Number G 72 7 29g 7e/¢ Z
E-mail Address (if known)
Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

 

E-mail Address (if known)

 

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C. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

Name Nissan Motor Acceptance Corporation
Street Address 8800 Freeport Parkway

City and County Irving Dallas

State and Zip Code TX 75063

Telephone Number (972) 929-7214

 

i. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

] Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000¢ to 2000-17 (race,
color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

O

Other federal law (specify the federal law):

 

O

Relevant state law (specify, if brown):

 

CO

Relevant city or county law (specify, if known):

 

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Pro Se 7 @ev, 12/16) Complaint for Employment Discrimination

Ii.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
Jederal employment discrimination statutes.)

ONO

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
01/29/2018 through 08/08/2018

 

 

 

 

 

 

C. I believe that defendant(s) (check one):
L] is/are still committing these acts against me.
is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race
C color
CJ gender/sex
C] religion
CI national origin
age (year of birth) 1958 = (only when asserting a claim of age discrimination.)
disability or perceived disability (specify disability)

| was deemed permanently disabled by the Social Secu

 

E. The facts of my case are as follows. Attach additional pages if needed.

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

t was deemd to be permanently disabled in 2014 by The Social Security Administration, after being
diagnosed with Osteo Arthritis and Severe Depressive Disorder. | underwent total knee replacement for
both knees in 2016, and right hip replacement in 2015. | underwent intense therapy for depression and
grief counseling after the loss of my 28 year old daughter on 08/12/2013. In late 2017, | received a right
to work letter from Social Security, and started looking for employment. A recruiting agency Kelly
Services contacted me and after an intense interview process and back ground check, | was offered a
position of Late Stage Collections Specialist, and started working for Nissan on 01/28/2018. | had
disclosed my disabilities and completed the training process with ftyng colors. | requested reasonable
accomodtions for handicaned narkina on 02/03/2018. die ta havina nroblems with findina a olace to

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

Seotember 14, 2018

 

B. The Equal Employment Opportunity Commission (check one):
[J has not issued a Notice of Right to Sue letter.
we issued a Notice of Right to Sue letter, which I received on (date) 06/04/2021

(Note: Attach a copy of the Notice of Right to Sue fetter from the Equal Empioyment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

60 days or more have elapsed.
[] less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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Back pay from the date of termination until | was able to find comparable employment in 12/2020. approximately
3.5 years at 49100.00 > year or $172000.00.

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Eile 2idfle! 23s

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: faok /o Mas 2s %,

get it hack.
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VE Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,

and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

rr RENE

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 07/25/2021

Signature crue Goipees Feo

Printed Name of Plaintiff Leslie tea

 

For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

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301 Ravenna Rd.

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CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act FEPA
Statement and other information before completing this form.
Fe cee
Texas Workforce Commission, Civil Rights Division and EEOC
State or local Agency, if any

Name (indicate Mr, Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Ms. Leslie Lea (202) 321-3271 02/27/1968
Street Address City, State and ZIP Code

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

Name No. Employees, Members | Phone No. (Include Area Code)
Nissan Motor Acceptance Corporation 1,000 + (972) 929-7214
Street Address City, State and ZIP Code

£900 Freeport Pkwy Irving, Texas 76063.

Name No. Employees, Members Phone No. (include Area Code)
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest
CJ RACE CJ COLOR L] SEX [ ] RELIGION LJ NATIONAL ORIGIN 02/2018 08/07/2018
RETALIATION AGE DISABILITY [] GENETIC INFORMATION
[J OTHER (Specify) [x] CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

Statement of Harm: Nissan Motor Acceptance Corporation (hereinafter referred to as “NMAC”) subjected
me to disparate and discriminatory treatment with regard to my age and disability. Specifically, throughout
my employment with NMAC, Jason Perry (Supervisor) targeted me and suggested that | was “...too old,” for
my position made baseless accusations that | “...did not respect others, because of my age.” Mr. Perry’s
accusations were entirely without merit and throughout my employment with NMAC, | never received any
disciplinary action and/or poor work performance evaluations outlining any “disrespect for others.”
Additionally, shortly after commencing my employment with NMAC, | escalated my concerns with regard to a
handicap parking spot and requested the reasonable accommodation of such. | provided the necessary
medical documentation outlining my need (as a result of my disability); nevertheless, NMAC denied my
request for reasonable accommodations. Thereafter, | filed an ethics complaint regarding NMAC’s failure to
provide a reasonable accommodation pursuant to my disability and was subsequently told that | “... needed
to arrive earlier,” or “...sleep in my car,” to procure a suitable parking spot. NMAC continued to place
unreasonable demands, outside the scope of my accommodations’ request, and insisted that | work without
any accommodations. Subsequently, NMAC terminated my employment following an instance wherein | was
forced to leave work early. Prior to such, | have never received any disciplinary action and/or issues with
regard to my attendance; nevertheless, NMAC used the singular, isolated incident as pretext to justify my
wrongful termination as a result of the aforementioned discrimination.

Statement of Discrimination: Based on the foregoing, | believe | have been discriminated against because
of my age and disability in violation of the Age Discrimination in Employment Act of 1967 and the Americans
with Disabilities Act of 1990, as amended.

 

will advise the agencies if | change my address or phone number and | will

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY - When necessary for State and Local Agency Requirements

cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 

Date Charging Party Signature

 

 

 
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DISMISSAL AND NOTICE OF RIGHTS

 

 

 

|

To: Lestie Lea From: Datlas District Office

: 301 Ravenna Rd 207 S. Houston St. 3rd Floor

Lake Dallas, TX 75066 Dallas, TX 76202

: CT} On behalf of person(s) aggrieved whose identity is

CONFIDENTIAL (29 CFR §1601.7(a))

EEOC Charge No. EEOC Representative Telephone No.

| Avie Murrell,

450-2018-07437 investigator (972) 918-3587

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OU RBUUUD

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vii, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN $0 DAYS of your receipt of this notice; or your right to sue based on this charge will be
fost. (The time fimit for filing suit based on a claim under state faw may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

 

On behalf of the Commission
to ) hl po 05-27-2021
Enclosures(s) Belinda F. McCallister, (Date Issued)
District Director

a Reidy Catherine, Senior Paralegal
NISSAN GROUP OF NORTH AMERICA
P.O. Box 686001
Franklin, TN 37068
